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May 4, 2022

Via ECF

Hon. Thérèse Wiley Dancks
United States Magistrate Judge
United States District Court
100 S. Clinton Street
Syracuse, New York 13261

                Re:       Hartwick v. Annuci, et al., 5:20-cv-00408-DNH-TWD

Your Honor,

We represent the Plaintiff Jason Hardwick, and we write to request for a limited extension of
discovery.

The parties have worked diligently, since the change in Plaintiff’s counsel, to complete
discovery. Nearly all discovery has been completed. All party and non-party depositions are
finished. And the vast majority of document discovery is also finished. The Plaintiff is producing
some receipts that are relevant to damages, and the Defendants are going to inquire about a
document that may be missing from the production.

A small dispute has arisen, however. A few days after the deposition of Ana Enright on April 22,
2022, Plaintiff served a small number of interrogatories on Defendant Anthony Annucci,
pursuant to the stipulation entered on docket number 66. Plaintiff reads the stipulation as
allowing these interrogatories after Enright’s deposition, and thus not covered by the timing
limitation in Local Rule 26.4. Defendants contends that these interrogatories are untimely. After
three phone calls, on Monday, May 2, 2022, the parties reached an agreement. If the Court
agrees to an extension of discovery, Defendants will answer the interrogatories. And Defendants
will not oppose the request for an extension.

Consequently, we now ask that this Court extend the deadline for completing discovery, nunc
pro tunc, by 31 days, to Monday, May 31, 2022. And we ask that all other deadlines be extended
in equal measure. We did not make this request before the close of discovery on April 29, 2022
because at that time we were still discussing the issue, and it appeared a resolution would be
reached. But we did not reach this resolution until the following week.


Respectfully,

   /s/

Rob Rickner


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